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Attorneys for Defendant Life and Health
   Benefits Plan of the American Red Cross


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


RACHEL S., an individual,                                               ANSWER

       Plaintiffs,

vs.                                                           Case No. 2:14-cv-778-PMW

LIFE AND HEALTH BENEFITS PLAN
OF THE AMERICAN RED CROSS,

       Defendant.                                          Magistrate Judge Paul M. Warner


       Defendant Life and Health Benefits Plan of the American Red Cross (“Plan”) responds to

the complaint of plaintiff Rachel S.

       1.      In response to paragraph 1 of the complaint, the Plan admits that the Employee

Retirement Income Security Act (“ERISA”) governs the Plan and claims for benefits relating to

the Plan, admits that the Court has jurisdiction over this case based on the provisions of ERISA

cited in this paragraph of the complaint, admits that Rachel S. has summarized her claims under

ERISA in this paragraph of the complaint, denies that Rachel S. is entitled to any relief under

ERISA, and denies all other allegations of this paragraph of the complaint.



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       2.      The Plan lacks sufficient information to admit or to deny the allegations of

paragraph 2 of the complaint.

       3.      In response to paragraph 3 of the complaint, the Plan denies the allegations to the

extent that Rachel S. seeks to imply an entitlement to receive the benefits in dispute under the

Plan, and admits the other allegations of this paragraph of the complaint.

       4.      In response to paragraph 4 of the complaint, the Plan admits that Cigna

Behavioral Health, Inc. is a licensed utilization review agent that reviews mental health claims

for medical necessity on behalf of the Plan’s third party claim administrator, Connecticut

General Life Insurance Company (Cigna Behavioral Health, Inc. and Connecticut General Life

Insurance Company collectively referred to as “Cigna”), and denies all other allegations of this

paragraph of the complaint.

       5.      The Plan admits the allegations of paragraph 5 of the complaint.

       6.      In response to paragraph 6 of the complaint, the Plan admits that venue is proper

before the Court, and denies the other the allegations of this paragraph of the complaint.

       7.      In response to paragraph 7 of the complaint, the Plan incorporates by reference its

preceding responses to the allegations of the complaint.

       8.      In response to paragraph 8 of the complaint, the Plan admits the allegations to the

extent that Rachel S. has accurately summarized information contained in the ERISA

administrative record, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to the benefits in dispute under the Plan, denies the allegations to the extent that

Rachel S. seeks to imply an entitlement to any recovery under ERISA, and denies all other

allegations of this paragraph of the complaint.


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       9.        In response to paragraph 9 of the complaint, the Plan admits the allegations to the

extent that Rachel S. has accurately summarized information contained in the ERISA

administrative record, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to the benefits in dispute under the Plan, denies the allegations to the extent that

Rachel S. seeks to imply an entitlement to any recovery under ERISA, and denies all other

allegations of this paragraph of the complaint.

       10.       In response to paragraph 10 of the complaint, the Plan admits the allegations to

the extent that Rachel S. has accurately summarized information contained in the ERISA

administrative record, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to the benefits in dispute under the Plan, denies the allegations to the extent that

Rachel S. seeks to imply an entitlement to any recovery under ERISA, and denies all other

allegations of this paragraph of the complaint.

       11.       In response to the 11th paragraph of the complaint, to which Rachel S. has

incorrectly referred to as paragraph “10,” the Plan admits the allegations to the extent that

Rachel S. has accurately summarized information contained in the ERISA administrative record,

denies the allegations to the extent that Rachel S. seeks to imply an entitlement to the benefits in

dispute under the Plan, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to any recovery under ERISA, and denies all other allegations of this paragraph of

the complaint.

       12.       In response to the 12th paragraph of the complaint, to which Rachel S. has

incorrectly referred to as paragraph “11,” the Plan admits the allegations to the extent that

Rachel S. has accurately summarized information contained in the ERISA administrative record,


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denies the allegations to the extent that Rachel S. seeks to imply an entitlement to the benefits in

dispute under the Plan, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to any recovery under ERISA, and denies all other allegations of this paragraph of

the complaint.

       13.       In response to the 13th paragraph of the complaint, to which Rachel S. has

incorrectly referred to as paragraph “12,” the Plan admits the allegations to the extent that

Rachel S. has accurately summarized information contained in the ERISA administrative record,

denies the allegations to the extent that Rachel S. seeks to imply an entitlement to the benefits in

dispute under the Plan, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to any recovery under ERISA, and denies all other allegations of this paragraph of

the complaint.

       14.       In response to the 14th paragraph of the complaint, which Rachel S. has

inaccurately referred to as paragraph “13,” the Plan admits that Cigna initially approved

coverage for residential treatment of Rachel S. at Avalon Hills from August 16, 2012 through

September 17, 2012, admits that Cigna initially denied coverage for residential treatment of

Rachel S. at Avalon Hills after September 18, 2012, denies that Rachel S. has summarized all of

the grounds on which Cigna based its claim determination, denies the allegations to the extent

that Rachel S. seeks to imply an entitlement to the benefits in dispute under the Plan, denies the

allegations to the extent that Rachel S. seeks to imply an entitlement to any recovery under

ERISA, and denies all other allegations of this paragraph of the complaint.

       15.       In response to the 15th paragraph of the complaint, which Rachel S. has

inaccurately referred to as paragraph “14,” the Plan denies that Rachel S. has summarized all


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other grounds on which Cigna based its appeal determination, and admits the other allegations of

this paragraph of the complaint.

       16.       In response to the 16th paragraph of the complaint, to which Rachel S. has

incorrectly referred to as paragraph “15,” the Plan admits the allegations to the extent that

Rachel S. has accurately summarized information contained in the ERISA administrative record,

denies the allegations to the extent that Rachel S. seeks to imply an entitlement to the benefits in

dispute under the Plan, denies the allegations to the extent that Rachel S. seeks to imply an

entitlement to any recovery under ERISA, and denies all other allegations of this paragraph of

the complaint.

       17.       In response to the 17th paragraph of the complaint, which Rachel S. has

inaccurately referred to as paragraph “16,” the Plan admits that Rachel S.’s counsel submitted an

appeal letter dated April 10, 2014, and denies the other allegations of this paragraph of the

complaint.

       18.       The Plan lacks sufficient information to admit or to deny the allegations of the

18th paragraph of the complaint, which Rachel S. has inaccurately referred to as paragraph “17.”

       19.       The Plan denies the allegations of the 19th paragraph of the complaint (including

subparts A through E), which Rachel S. has inaccurately referred to as paragraph “18.”

       20.       The Plan denies the allegations of the 20th paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “19.”

       21.       In response to the 21st paragraph of the complaint, which Rachel S. has

inaccurately referred to as paragraph “20,” the Plan admits that Rachel S. exhausted her




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administrative remedies under ERISA and the Plan, and denies the other allegations of this

paragraph of the complaint.

        22.    The Plan denies the allegations of the 22nd paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “21.”

        23.    The Plan denies the allegations of the 23rd paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “22.”

        24.    The Plan denies the allegations of the 24th paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “23.”

        25.    In response to the 25th paragraph of the complaint, which Rachel S. has

inaccurately referred to as paragraph “24,” the Plan incorporates by reference its preceding

responses to the allegations of the complaint.

        26.    The Plan denies the allegations of the 26th paragraph of the complaint (including

subparts A through C), which Rachel S. has inaccurately referred to as paragraph “25.”

        27.    In response to the 27th paragraph of the complaint, which Rachel S. has

inaccurately referred to as paragraph “26,” the Plan incorporates by reference its preceding

responses to the allegations of the complaint.

        28.    The Plan denies the allegations of the 28th paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “27.”

        29.    The Plan denies the allegations of the 29th paragraph of the complaint (including

all separately designated subparts), which Rachel S. has inaccurately referred to as paragraph

“28.”




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       30.     The Plan denies the allegations of the 30th paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “29.”

       31.     The Plan denies the allegations of the 31st paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “30.”

       32.     The Plan denies the allegations of the 32nd paragraph of the complaint, which

Rachel S. has inaccurately referred to as paragraph “31.”

       33.     The Plan denies that Rachel S. is entitled to any of the relief listed in the Prayer

for Relief paragraph of the complaint.

       34.     The Plan denies any allegation of the complaint to which it has not already

provided an admission, a denial, or a qualified response.

       35.     The Plan expressly reserves the right to amend this answer (including affirmative

defenses) as more information is learned.

                                  FIRST AFFIRMATIVE DEFENSE

       Rachel S.’s complaint fails to state a claim upon which relief can be granted against the

Plan based on ERISA, the administrative record, and the terms of the Plan.

                                SECOND AFFIRMATIVE DEFENSE

       Rachel S. cannot assert a claim for equitable relief, because she has a claim for benefits

under 29 U.S.C. § 1129(a)(1)(B).

                                 THIRD AFFIRMATIVE DEFENSE

       Rachel S. cannot assert a claim for breach of fiduciary duty, because she has a claim for

benefits under 29 U.S.C. § 1129(a)(1)(B).

                                FOURTH AFFIRMATIVE DEFENSE


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       Cigna in its capacity as the third party claim administrator of the Plan acted reasonably

with respect to the consideration of Rachel S.’s claim under the Plan.




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                                   FIFTH AFFIRMATIVE DEFENSE

       Substantial evidence, including the terms of the Plan, supported Cigna’s claim

determination.

                                  SIXTH AFFIRMATIVE DEFENSE

       Cigna in its capacity as the third party claim administrator of the Plan properly exercised

its discretion in considering Rachel S.’s claim.

                                 SEVENTH AFFIRMATIVE DEFENSE

       The Court’s review of Rachel S.’s claim should be limited to the evidence and the

arguments presented to Cigna during the administrative claim process.

                                 EIGHTH AFFIRMATIVE DEFENSE

       Cigna in its capacity as the third party claim administrator of the Plan discharged its

duties with respect to the Plan in the best interests of the participants in and the beneficiaries of

the Plan, and, in doing so, Cigna acted in accordance with the documents and the instruments

governing the Plan.

                                  NINTH AFFIRMATIVE DEFENSE

       Rachel S.’s claims against the Plan are barred by failure or failures of conditions

precedent under the terms of the Plan.

                                  TENTH AFFIRMATIVE DEFENSE

       Although the Plan denies any liability to Rachel S., ERISA provides only for an award of

benefits due under any employee benefits plan and for no other type of damages.




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                               ELEVENTH AFFIRMATIVE DEFENSE

       Although the Plan denies any liability to Rachel S., any benefits awarded under the Plan

are subject to integration, offsets, and deductions as set forth under the terms of the Plan.

       THEREFORE, defendant Life and Health benefits Plan of the American Red Cross

requests that the Court dismiss the complaint and enter an order awarding to it attorneys’ fees

pursuant to 29 U.S.C. § 1132(g), costs, and such other relief as the Court deems to be proper.

       Dated this 10th day of December, 2014.

                                               HOLLAND & HART LLP


                                               /s/ James L. Barnett
                                               James L. Barnett

                                               Attorneys for Defendant Life and Health
                                                  Benefits Plan of the American Red Cross




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 10, 2014, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the

following:

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                                              /s/ Tish Howell




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